Case 3:21-cv-00981-MAS-DEA Document 10 Filed 04/27/21 Page 1 of 1 PageID: 22




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 ESTHER BANDMAN,

                               Plaintiff,

                  -v-                               Civil Case Number: 3:21-cv-00981-MAS-DEA

 BANK OF AMERICA, N.A.,


                               Defendant.


                                 STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

stipulate to the Plaintiff’s voluntary dismissal of all claims against Defendant in the above-

captioned matter, with prejudice. A proposed Order of Dismissal is annexed hereto as Exhibit A.

         All parties shall bear their own attorneys’ fees and costs incurred in this action.

Dated:          April 27, 2021

 /s/ Yitzchak Zelman                                 /s/ Philip Andrew Goldstein
 Yitzchak Zelman, Esq.                               Philip Andrew Goldstein, Esq.
 Marcus & Zelman, LLC                                McGuireWoods LLP
 701 Cookman Avenue, Suite 300                       1251 Avenue of the Americas, 20th Floor
 Asbury Park, NJ 07712                               New York, NY 10020
 Tel: (732) 695-3282                                 Tel: (212) 548-2167
 Email: yzelman@marcuszelman.com                     Email: pagoldstein@mcguirewoods.com

 Attorneys for Plaintiff                             Attorneys for Defendant
 Yehoshua Bandman                                    Bank of America, N.A.
